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10   Attorneys For Plaintiff

11                                 UNITED STATES BANKRUPTCY COURT

12                     CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

13    In re                                          Case No. 8:12-bk-22893-CB

14    CHARLES FRANCIS GUGLIUZZA II,                  Chapter 7

15    Debtor.                                        Adv. No. 8:13-ap-01078-CB

16    FEDERAL TRADE COMMISSION,                      ORDER DENYING DEFENDANT’S MOTION
                                                     FOR COSTS AND FEES AND DEFENDANT’S
17    Plaintiff,                                     BILL OF COSTS

18    v.                                             Date: August 8, 2018
                                                     Time: 10:00 a.m.
19    CHARLES FRANCIS GUGLIUZZA II,                  Courtroom:
                                                     Address:     411 W 4th St, Santa Ana, CA 92701
20    Defendant.
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22            A hearing was held on August 8, 2018, at 10:00 a.m., before the Honorable Catherine E. Bauer,
23   United States Bankruptcy Judge for the Central District of California, in Courtroom 5D located at 411
24   West Fourth St., Santa Ana, CA, on Defendant’s Motion for Costs and Fees filed July 13, 2018 as
25   Docket #275, together with the related Bill of Costs filed July 13, 2018 as Docket #274 (collectively the
26   “Motion”). Appearances were made as noted on the record.
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1           The Court having read and considered the Motion, heard the statements of counsel, noted the

2    opposition and reply and with good cause shown,

3           IT IS ORDERED:

4           1.     The Motion is denied.

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          Date: August 13, 2018
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